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                            UNITED STATES DISTRICT COURT                           FILED
                            FOR THE DISTRICT OF COLUMBIA                           JUN - 8 2021
                                                                              Clerk, U.S. District & Bankruptcy
CHRISTOPHER LAMAR,                                    )                       Court for the District of Columbia
                                                      )
                       Plaintiff,                     )
                                                      )
       v.                                             )      Civil Action No. 21-1497 (UNA)
                                                      )
DEPARTMENT OF JUSTICE                                 )
                                                      )
                       Defendant.                     )


                                    MEMORANDUM OPINION

       The plaintiff is a federal prisoner who is currently incarcerated at the Pensacola Federal

Prison Camp in Pensacola, Florida. This matter is before the Court on plaintiff’s application to

proceed in forma pauperis and his pro se civil complaint. The Court has reviewed plaintiff’s

complaint, keeping in mind that complaints filed by pro se litigants are held to less stringent

standards than those applied to formal pleadings drafted by lawyers. See Haines v. Kerner, 404

U.S. 519, 520 (1972). Even pro se litigants, however, must comply with the Federal Rules of

Civil Procedure. Jarrell v. Tisch, 656 F. Supp. 237, 239 (D.D.C. 1987). Rule 8(a) of the Federal

Rules of Civil Procedure requires that a complaint contain a short and plain statement of the

grounds upon which the Court’s jurisdiction depends, a short and plain statement of the claim

showing that the pleader is entitled to relief, and a demand for judgment for the relief the pleader

seeks. See Fed. R. Civ. P. 8(a). The purpose of the minimum standard of Rule 8 is to give fair

notice to the defendants of the claim being asserted, sufficient to prepare a responsive answer, to

prepare an adequate defense and to determine whether the doctrine of res

judicata applies. Brown v. Califano, 75 F.R.D. 497, 498 (D.D.C. 1977).
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       As drafted, the plaintiff’s complaint fails to meet the minimal pleading standard set forth

in Rule 8(a). The complaint itself alleges no facts. Rather, the plaintiff demands judicial review

under the Administrative Procedures Act of an unidentified agency determination, and

declaratory relief directed toward protection of his Fifth, Sixth and Seventh Amendment rights.

Wholly lacking are factual allegations to support any legal claim.1

       Therefore, the Court will dismiss the complaint and this civil action without prejudice.

The plaintiff’s application to proceed in forma pauperis will be granted. An Order consistent

with this Memorandum Opinion is issued separately.



                                                      DABNEY L. FRIEDRICH
                                                      United States District Judge
DATE: June 8, 2021




1
  To the extent that that plaintiff’s claims pertain either to a reduction in sentence or other means
of early release from incarceration, it appears that these matters have been or are being addressed
by the United States District Court for the Northern District of Florida. Review of plaintiff’s
criminal case on PACER shows that a motion for sentence reduction under 18 U.S.C. § 3582
recently has been denied and that a motion for resentencing under the First Step Act is pending.
See United States v. Lamar, No. 5:08-cr-40 (N.D. Fla. Nov. 05, 2008).

                                                  2
